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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

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         In re:                                                    :   Chapter 11
                                                                   :
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         VIRGIN ORBIT HOLDINGS, INC., et al.,                      :   Case No. 23-10405 (KBO)
                                                                   :
                             Debtors.                              :   (Jointly Administered)
                                                                   :
                                                                   :   Ref. Docket Nos. 96, 459, 532, 542, 559,
                                                                   :   571, 576, 589, 595 & 596
         --------------------------------------------------------- x

             CERTIFICATION OF COUNSEL REGARDING PROPOSED ORDER CONFIRMING
                 THE FIFTH AMENDED JOINT CHAPTER 11 PLAN OF VIRGIN ORBIT
                         HOLDINGS, INC. AND ITS DEBTOR AFFILIATES

                  On June 28, 2023, the above-captioned debtors and debtors in possession (collectively,

         the “Debtors”) filed the Notice of Filing of Revised Proposed Order Confirming the Fourth

         Amended Joint Chapter 11 Plan of Virgin Orbit Holdings, Inc. and Its Debtor Affiliates [Docket

         No. 589] (the “Proposed Confirmation Order”) in advance of a hearing (the “Confirmation

         Hearing”) held on the same day to consider approval of the Fourth Amended Joint Chapter 11

         Plan of Virgin Orbit Holdings, Inc. and Its Debtor Affiliates [Docket No. 588] (as amended,

         modified, revised, and supplemented, the “Plan”).

                  At the Hearing, the United States Bankruptcy Court for the District of Delaware

         (the “Court”) indicated that it would enter the Proposed Confirmation Order provided that the

         Debtors made certain revisions to the Proposed Confirmation Order consistent with the Court’s

         ruling on the record of the Hearing. Accordingly, the Debtors revised the Proposed Confirmation

         Order, attached hereto as Exhibit A (the “Revised Proposed Confirmation Order”), to reflect


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              The Debtors in these cases, along with the last four digits of each debtor’s federal tax identification
              number, are: Virgin Orbit Holdings, Inc. (6914); Virgin Orbit National Systems, LLC (3801); Vieco
              USA, Inc. (0492); Virgin Orbit, LLC (9648); and JACM Holdings, Inc. (1445). The Debtors’ mailing
              address for purposes of these cases is 3880 McGowen Street, Long Beach, CA 90808.
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         the Court’s rulings and comments made on the record at the Hearing. For the convenience of the

         Court and interested parties, attached hereto as Exhibit B is a blackline comparing the Proposed

         Confirmation Order to the Revised Proposed Confirmation Order. The Debtors have circulated

         the Revised Proposed Confirmation Order to the Office of the United States Trustee for the District

         of Delaware, counsel for the Official Committee of Unsecured Creditors, and the Debtors’ lenders,

         and such parties have informed the Debtors that they do not object to entry of the Revised Proposed

         Confirmation Order.

                The Debtors respectfully submit that the Revised Proposed Confirmation Order is

         consistent with the Court’s rulings and comments at the Hearing and entry of the Revised Proposed

         Confirmation Order is in the best interest of the Debtors and their estates. Accordingly, the Debtors

         respectfully request that the Court enter the Revised Proposed Confirmation Order at its earliest

         convenience without further notice or hearing.

                                              [Signature page follows]




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